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                                    UNITED STATES BANKRUPTCY COURT
                                       SOUTHERN DISTRICT OF OHIO
                                      WESTERN DIVISION AT DAYTON
IN RE:                                                                   Case No: 20-32334
    Robert J Yant                                                        Chapter 13
    Catherine J Yant
       Debtors                                                           JUDGE GUY R. HUMPHREY
                          CHAPTER 13 TRUSTEE'S OBJECTION TO CONFIRMATION
                                     OF AMENDED PLAN (DOC 52)
The Chapter 13 Trustee objects to confirmation of the Debtors' amended plan (Doc 52), and as provided by

11 U.S.C.§1302(b)(2) recommends the plan not be confirmed, all as more fully set forth in the attached

memorandum.

A plan has not been confirmed.




                                                     ____/s/_John G. Jansing_____________
                                                     John G Jansing 0040926
                                                     Chapter 13 Trustee
                                                     131 N. Ludlow St. Suite 900
                                                     Dayton, OH 45402-1161
                                                     (937) 222-7600 FAX (937) 222-7383
                                                     email: chapter13@dayton13.com




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                                          20-32334 YANT


          The Debtors have provided for the Trustee to disburse bi-annual real estate tax payments

to the Darke County Treasurer. The Trustee submits that he cannot administer 6 month bi-annual

payments. The Debtors must provide a monthly real estate tax payment in order for the Trustee

to pay.


          The changes in the third amended plan are not properly highlighted. It appears that all

of the highlighting from the second amended plan has been carried over into the third

amended. Only information added to or deleted from the second amended plan should have

been highlighted in the third amended plan. The failure to highlight changes, or highlighting

sections that are not changed create an administrative inconvenience for parties and the Court.


          The Debtors failed to highlight any of the changes form the second amended plan. Any

information added to or deleted from the second amended plan should be highlighted in the

third amended plan. The failure to highlight changes, or highlighting sections that are not

changed create an administrative inconvenience for parties and the Court.
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                                         CERTIFICATE OF SERVICE                                20-32334


    I hereby certify that a copy of the Chapter 13 Trustee's Objection To Confirmation Of Amended Plan was
served electronically on the date of the filing through the Court’s ECF System on all ECF participants
registered in this case at the email address registered with the court and by First Class Mail on March 18,
2021 addressed to:


Robert J Yant
Catherine J Yant
4560 Grubbs-rex Road
Arcanum, OH 45304



                                                                             /s/ John G Jansing
                                                                           John G Jansing, Trustee




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